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  1   H. Vincent McKnight, Pro Hac Vice
      SANFORD HEISLER SHARP, LLP
  2
      700 Pennsylvania Ave. SE, Suite 300
  3   Washington, D.C. 20003
      Telephone: (202) 499-5201
  4   Email: vmcknight@sanfordheisler.com
  5   Leonard B. Simon (CA Bar No. 58310)
      LAW OFFICES OF LEONARD B. SIMON
  6
      655 West Broadway, Suite 1900
  7   San Diego, CA 92101
      Telephone: (619) 818-0644
  8   Email: lens@rgrdlaw.com

  9   Attorneys for the Plaintiff-Relator Blackbird Special Project, LLC
 10                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA
 11
      CITY OF SAN DIEGO, CITY OF SACRAMENTO,                 CASE NO. 22-CV-260-L-MDD
 12   CITY OF MORENO VALLEY, CITY OF
      RIVERSIDE, CITY OF LOS ANGELES, CITY OF                NOTICE OF MOTION AND MOTION
 13   COMPTON, CITY OF TEMECULA, CITY OF                     TO WITHDRAW EDWARD D.
      PALMDALE, CITY OF LANCASTER, CITY OF                   CHAPIN AS COUNSEL OF RECORD
 14   SAN BERNARDINO, CITY OF VALLEJO, CITY
      OF FONTANA, CITY OF MURRIETA, CITY OF                  District Judge: M. James Lorenz
 15   FAIRFIELD, CITY OF PERRIS, CITY OF
      YUCAIPA, CITY OF CORONA, CITY OF RIALTO                Magistrate Judge: Mitchell D. Dembin
 16   AND
      ROES 1-250, EX. REL BLACKBIRD SPECIAL                  Complaint Filed: 2/25/2022
 17   PROJECT, LLC,                                          Trial Date: Not Set
 18                 Plaintiffs,
 19          v.
 20   INVITATION HOMES, INC., a Maryland
      Corporation
 21
                    Defendant.
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  1 NOTICE TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

  2          PLEASE TAKE NOTICE that, pursuant to Local Rule 83.3, the undersigned hereby
  3 request that Edward D. Chapin be permitted to withdraw as Plaintiffs’ counsel in this matter. There

  4 is good cause for this Motion, as follows:

  5          1. Mr. Chapin is no longer associated with Sanford Heisler Sharp, LLP, effective December
  6 30, 2022;

  7          2. Withdrawal will not prejudice Plaintiffs, as Plaintiffs’ other attorneys of record will
  8 continue to serve as counsel for Plaintiffs;

  9          3. Mr. Chapin’s withdrawal will not delay the proceedings in this matter;
 10          4. Mr. Chapin is not asserting a retaining or charging lien; and
 11          5. Sanford Heisler Sharp, LLP has informed Plaintiffs of Mr. Chapin’s withdrawal. See
 12 Declaration of H. Vincent McKnight ¶ 3.

 13

 14
      Dated: April 11, 2023                        Respectfully submitted,
 15
                                                   By: /s/ H. Vincent McKnight
 16                                                H. Vincent McKnight, Pro Hac Vice
                                                   SANFORD HEISLER SHARP, LLP
 17                                                700 Pennsylvania Ave. SE, Suite 300
                                                   Washington, D.C. 20003
 18                                                Telephone: (202) 499-5201
                                                   Email: vmcknight@sanfordheisler.com
 19
                                                   Attorneys for Plaintiffs
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                                                                 Case No. 22-CV-260-L-MDD
       NOTICE OF MOTION AND MOTION TO WITHDRAW EDWARD D. CHAPIN AS COUNSEL OF RECORD
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  1
                            DECLARATION OF H. VINCENT MCKNIGHT
  2          I, H. Vincent McKnight, am not a party in the above-captioned action. I am over the age
  3 of 18, have personal knowledge of the facts referred to in this Declaration, and could competently

  4 testify to the matters stated below. I declare as follows:

  5          1. I am counsel of record for Plaintiffs in the above-captioned case.
  6          2. I served the above Motion to Withdraw Edward D. Chapin as Counsel of Record (“the
  7 Motion”) on Defendant Invitation Homes, Inc. and its counsel of record via the ECF filing system.

  8          3. I served a copy of the Motion on my client via email prior to filing it in the ECF system.
  9          I declare under penalty of perjury under the laws of the United States that the foregoing is
 10 true and correct to the best of my knowledge.

 11

 12

 13 Dated: April 11, 2023                                           /s/ H. Vincent McKnight
                                                                   H. Vincent McKnight, Pro Hac Vice
 14
                                                                   SANFORD HEISLER SHARP, LLP
 15                                                                700 Pennsylvania Ave. SE, Suite 300
                                                                   Washington, D.C. 20003
 16                                                                Telephone: (202) 499-5201
                                                                   Email:
 17                                                                vmcknight@sanfordheisler.com
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                                                                Case No. 22-CV-260-L-MDD
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  1                                  CERTIFICATE OF SERVICE
  2         I hereby certify that on April 11, 2023, I electronically filed the foregoing with the Clerk
  3 of the Court using the CM/ECF system, which will send notification of such filing to the email

  4 addresses denoted on the Notice of Electronic Filing.

  5         Additionally, I caused the foregoing to be forwarded to Plaintiff via e-mail on the date this
  6 declaration was executed.

  7         I certify under penalty of perjury under the laws of the United States of America that the
  8 foregoing is true and correct.

  9
 10

 11 Dated: April 11, 2023                                         /s/ H. Vincent McKnight
                                                                  H. Vincent McKnight, Pro Hac Vice
 12                                                               SANFORD HEISLER SHARP, LLP
                                                                  700 Pennsylvania Ave. SE, Suite 300
 13
                                                                  Washington, D.C. 20003
 14                                                               Telephone: (202) 499-5201
                                                                  Email:
 15                                                               vmcknight@sanfordheisler.com
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